
The following order has been entered on the motion filed on the 13th of March 2017 by Appellant for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 17th of August 2017."
Upon consideration of the petition filed by Appellant on the 13th of March 2017 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th of August 2017."
Upon consideration of the petition filed on the 28th of March 2017 by Appellant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th of August 2017."
